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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

   Rachelle Rand, Esperanza Gottschau,                  §
   and Ramon Soto,                                      §
                                                        §
               Plaintiffs,
                                                        §
   v.                                                   §      Civil Action No. 3:24-cv-00621-N
                                                        §
   Eyemart Express, LLC,                                §
              Defendant.                                §


                                        PROPOSED ORDER

         The Court, having duly considered the Plaintiffs Rachelle Rand, Esperanza Gottschau, and

Ramon Soto and Defendant Eyemart Express, LLC’s Agreed Motion to extend the briefing schedule

on Defendant Eyemart Express, LLC’s Motion to Dismiss (Doc. 14), and for good cause shown, it is

hereby ORDERED that the Motion is GRANTED.

         Accordingly, Plaintiffs shall have up to and including June 11, 2024, to file their Response to

Defendant’s Motion to Dismiss, and Defendant shall have up to and including July 2, 2024, to file its

Reply to Plaintiffs’ Response.



         IT IS SO ORDERED.




Dated:
                                                        United States District Judge




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